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                            IN THE UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF OHIO
                                     WESTERN DIVISION

PATRICIA A. PREPHAN,                        ) Case No. 11-CV-0434
                                            )
             Plaintiff,                     ) Judge Katz
                                            )
v.                                          ) STIPULATED DISMISSAL ENTRY
                                            )
NCO FINANCIAL SYSTEMS, INC.,                )
et al.,                                     )
                                            ) Kyle A. Silvers, Esq. (0067654)
              Defendants,                   ) SHINDLER, NEFF, HOLMES,
                                            ) SCHLAGETER, & MOHLER, L.L.P.
                                            ) 1200 Edison Plaza
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                                            ) (419) 243-6281
                                            ) FAX: (419) 474-9522
                                            ) Counsel for Plaintiff
                                            ) Patricia A. Prephan
                                            )
        Plaintiff Patricia A. Prephan and Defendants Chase Bank USA and Palisades Collection
LLC., hereby stipulate that this action shall be and hereby is dismissed, with prejudice, with
Plaintiff to pay the Court costs. All other fees and costs are and remain the responsibility of the
incurring party.
                                                     Respectfully Submitted,


                                                     /s/Kyle A. Silvers______
                                                     Kyle A. Silvers, Esq.
                                                     Attorney for Plaintiff




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